                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )       NO. 3:11-00194
                                                )       JUDGE CAMPBELL
JERMAINE JACKSON                                )

                                         ORDER

     Pending before the Court is a Motion for Leave to File Under Seal (Docket No. 1143). The

Motion is GRANTED.

     It is so ORDERED.

                                                ____________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




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